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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------
JOHN HAMMERSCHMIDT

                           Plaintiff,                           Case No. 23-cv-10424

           v.                                                   COMPLAINT FOR VIOLATIONS OF
                                                                FEDERAL SECURITIES LAWS AND
CONSOLIDATED COMMUNICATIONS                                     DELAWAR STATE LAW
HOLDINGS, INC., ROBERT J CURREY,
ANDREW S. FREY, DAVID G. FULLER,                                JURY TRIAL DEMANDED
THOMAS A. GERKE, ROGER H. MOORE,
MARIBETH S. RAHE, MARISSA M. SOLIS,
and ROBERT UDELL, JR.,

                            Defendants.


         Plaintiff John Hammerschmidt (“Plaintiff”), by the undersigned attorneys, alleges as

follows based (i) upon personal knowledge with respect to Plaintiff’s own acts, and (ii) upon

information and belief as to all other matters based on the investigation conducted by Plaintiff’s

attorneys, which included, among other things, a review of relevant U.S. Securities and Exchange

Commission (“SEC”) filings, and other publicly available information.

                                        NATURE OF THE ACTION

         1.       This action is brought by Plaintiff against Consolidated Communications Holdings,

Inc. (“Consolidated” or the “Company”) and the members of Consolidated’s Board (“Board”) for

(i) violations of Sections 14(a) and 20(a) of the Securities Exchange Act of 1934 (“Exchange Act”),

15 U.S.C. § 78n(a) and § 78t(a), and U.S. Securities and Exchange Commission (“SEC”) Rule

14a-9 promulgated thereunder, 17 C.F.R. § 240.14a-9(a) (“Rule 14a-9”), and (ii) breach of

fiduciary duties under Delaware law. Plaintiff’s claims arise in connection with the solicitation of

public stockholders of Consolidated to vote in favor of a merger transaction (“Merger”) pursuant

to which affiliates of Searchlight Capital Partners, L.P. (“Searchlight”) will acquire all of the
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outstanding shares of common stock of Consolidated held by public stockholders for $4.70 per

share in cash (“Merger Consideration”), and Consolidated will merge into an affiliate of

Searchlight.

       2.      As of November 14, 2023, Searchlight owned 33.8% of the common shares of

Consolidated, and 100% of the Series A Preferred Stock of Consolidated.

       3.      On October 16, 2023, Consolidated announced the Merger.

       4.      On November 20, 2023, Defendants authorized the filing of a false and misleading

preliminary proxy on Schedule 14A (“Proxy”) with the SEC, in (i) violation of Sections 14(a) and

20(a) of the Exchange Act and Rule 14a-9, and (ii) breach of fiduciary duties under Delaware law,

with the aim of soliciting Consolidated stockholders to vote for the Merger (“Stockholder Vote”)

at a special meeting (“Special Meeting”) of Consolidated stockholders to be held on a date yet to

be determined. The Proxy advises Consolidated stockholders that “[y]our vote is important,

regardless of the number of shares you own” because Consolidated cannot complete the Merger

unless it is approved by a majority of the stockholders of Consolidated unaffiliated with

Searchlight (“Unaffiliated Stockholders”).

       5.      As detailed below, the Proxy contains material omissions that render the Proxy false

and misleading in violation of (i) the above-referenced Exchange Act provisions and Rule 14a-9,

and (ii) Delaware law.

       6.      The violations referenced above must be cured in advance of the Stockholder Vote

to enable Unaffiliated Stockholders to cast informed votes with respect to the Merger. Therefore,

Plaintiff seeks to enjoin the Defendant from taking any further steps to consummate the Merger

and schedule the Stockholder Vote, until such violations are cured. Alternatively, if the Merger is

consummated, Plaintiff reserves the right to recover damages suffered by Plaintiff and similarly-


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situated investors as a result of such violations.

                                 JURISDICTION AND VENUE

       7.      This Court has subject matter jurisdiction over the claims asserted herein for

violations of Sections 14(a) and 20(a) of the Exchange Act pursuant to Section 57 of the Exchange

Act, 15 U.S.C. § 78aa, and 28 U.S.C. § 1331 (federal question jurisdiction). The Court has subject

matter jurisdiction over the claims for breach of fiduciary duty under Delaware law under 28

U.S.C. § 1367 (providing supplemental jurisdiction over all other claims that are related to claims

in the action within the Court’s original jurisdiction).

       8.      This Court has personal jurisdiction over each of the Defendants because each

defendant has sufficient minimum contacts with the United States so as to make the exercise of

jurisdiction by this Court permissible under traditional notions of fair play and substantial justice.

See Moon Joo Yu v. Premiere Power LLC, No. 14 CIV. 7588 KPF, 2015 WL 4629495, at *5

(S.D.N.Y. Aug. 4, 2015) (because Exchange Act provides for nationwide service of process, and

Defendant resides within the United States, and conducts business within the United States, he

should reasonably anticipate being hauled into court in the United States, and Court’s exercise of

personal jurisdiction over Defendant with respect to Plaintiffs’ securities fraud claim is proper); In

re LIBOR-Based Fin. Instruments Antitrust Litig., No. 11 MDL 2262 NRB, 2015 WL 6243526, at

*23 (S.D.N.Y. Oct. 20, 2015) (“[w]hen the jurisdictional issue flows from a federal statutory grant

that authorizes suit under federal-question jurisdiction and nationwide service of process . . .

Second Circuit has consistently held that the minimum-contacts test in such circumstances looks

to contacts with the entire United States rather than with the forum state.”).

       9.      Venue is proper under 28 U.S.C. § 1391(b) because Defendants transact business

in this District. In particular, Consolidated’s common stock trades under the ticker “CNSL” on


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Nasdaq, which is headquartered in this District, and the false and misleading Proxy was filed with

the SEC, which has a regional office in this District. See Mariash v. Morrill, 496 F.2d 1138, 1144

(2d Cir. 1974) (venue appropriate in the Southern District of New York where an act or transaction

constituting the alleged violation occurred in the Southern District of New York); United States v.

Svoboda, 347 F.3d 471, 484 n.13 (2d Cir. 2003) (venue in tender offer fraud prosecution

appropriate in District).

                                              PARTIES

         10.   Plaintiff is, and has been at all relevant times, a stockholder of Consolidated

common stock.

         11.   Defendant Consolidated is a Delaware corporation with its principal executive

offices located at 2116 South 17th Street, Mattoon, Illinois 61938. Consolidated provides a wide

range of data, Internet and other communication solutions to consumer, commercial and carrier

customers in over 20 states over a network of copper and fiber cables.

         12.   Defendant Robert J. Currey presently serves as Chair of the Board and has served

as a member of the Board at all relevant times.

         13.   Defendant Andrew S. Frey has served as a member of the Board at all relevant

times. Frey is a partner at Searchlight.

         14.   Defendant David G. Fuller has served as a member of the Board at all relevant

times. Fuller is a partner at Searchlight.

         15.   Defendant Thomas A. Gerke has served as a member of the Board at all relevant

times.

         16.   Defendant Roger H. Moore has served as a member of the Board at all relevant

times.


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         17.   Defendant Maribeth S. Rahe has served as a member of the Board at all relevant

times.

         18.   Defendant Marissa M. Solis has served as a member of the Board at all relevant

times.

         19.   Defendant Robert Udell, Jr. presently serves as President and CEO of Consolidated

and has served as a member of the Board at all relevant times.

         20.   Defendants identified in paragraphs 12 to 19 are collectively referred to herein as

the “Individual Defendants,” and together with Consolidated, collectively, the “Defendants.”

                                SUBSTANTIVE ALLEGATIONS

Consolidated Decides to Upgrade Its Network to Fiber

         21.   In late 2018, the Board decided to embark on a multi-year capital investment

strategy to upgrade Consolidated’s predominantly copper-based infrastructure to a fiber-based

network.

Searchlight Invests in Consolidated

         22.   On September 13, 2020, Consolidated entered into an agreement with a Searchlight

affiliate pursuant to which Searchlight agreed to invest $425 million in Consolidated in exchange

for shares of common stock and Series A Preferred Stock. As a result, as of November 14, 2023,

Searchlight owned 33.8% of the common shares of Consolidated, and 100% of the Series A

Preferred Stock.

Searchlight Expresses Interest in Acquiring Consolidated

         23.   On March 7, 2022, Searchlight filed an amendment to its Schedule 13D with respect

to Consolidated stating that it intended to evaluate the possibility of a further investment in or full

acquisition of Consolidated. In response, on April 1, 2022, the Board formed a Special Committee


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consisting of purportedly independent and disinterested directors—Defendants Currey, Gerke,

Moore, Rahe and Solis—to evaluate and negotiate a potential transaction with Searchlight. The

Special Committee retained Cravath, Swaine & Moore LLP (“Cravath”) as its independent legal

advisor after confirming that such retention did not raise any conflicts.

       24.     On May 10, 2022, however, Searchlight advised that it did not, at such time, intend

to deliver a proposal for a potential transaction with Consolidated. Consequently, on July 1, 2022,

the Board disbanded the Special Committee. Thereafter, Consolidated continued to execute on its

capital investment plan

Searchlight Submits an Offer to Acquire Consolidated

       25.     On April 12, 2023, Searchlight sent the Board a letter proposing to acquire all of

the outstanding shares of Consolidated common stock not already owned by Searchlight for $4.00

per share in cash (with funding supplied by Searchlight and a co-investor, British Columbia

Investment Management Corporation (“BCI”)) (“April 12 Proposal”). The April 12 Proposal was

conditioned upon (i) a special committee of independent and disinterested directors appointed by

the Board and advised by independent legal and financial advisors recommending that the Board

approve the transaction, and (ii) a majority of Unaffiliated Stockholders approving the transaction.

       26.     In response, on April 29, 2023, the Board again formed a Special Committee

consisting of purportedly disinterested and independent directors consisting of Defendants Currey,

Gerke, Moore, and Rahe. While Defendant Solis had been appointed to the Special Committee

formed on April 1, 2022, she was not appointed to the Special Committee formed on April 29,

2023. The Proxy does not disclose whether or not the failure to appoint Solis to the Special

Committee formed on April 29, 2023, was due to a potential conflict affecting Solis that rendered

her interested and/or not independent of Searchlight.


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         27.     The Special Committee was empowered to recommend to the full Board whether

to enter into a transaction with Searchlight, and the full Board resolved not to enter into a

transaction with Searchlight unless recommended by the Special Committee.

         28.     The Special Committee re-confirmed the engagement of Cravath as independent

legal counsel to the Special Committee, and on May 12, 2023, retained Rothschild & Co.

(“Rothschild”) as its financial advisor.

Consolidated Reports Strong Growth in its Fiber-Based Services in Q1 2023

         29.     On May 2, 2023, Consolidated reported results for Q1 2023. In a press release,

Defendant Udell stated:

         We added a record 12,337 consumer fiber broadband subscribers in the first quarter
         and achieved 60% growth year over year. Our plan to drive improved penetration
         through a refined go-to market strategy is off to a great start with particularly strong
         fiber net adds of 5,200 in March, and approaching 6,000 in April. On the heels of
         this positive momentum, we expect to see another milestone of record net fiber adds
         in the second quarter.

         30.     The press release further stated that “[w]ith no maturities until 2027, healthy

liquidity and fiber penetration growth, Consolidated remains well positioned to continue executing

on its fiber expansion and growth plan.”

         31.     On May 2, 2023, in connection with reporting Q1 2023 results, Consolidated also

gave a presentation (“May 2 Presentation”) to analysts. The May 2 Presentation projected that by

2026, Consolidated would have approximately 2 million fiber “passings” built, representing 70%

of Consolidated’s total “passings” (after including copper passings). The May 2 Presentation

further stated that Consolidated was “[w]ell capitalized to continue executing on [its] fiber

investment growth plan.”1



1
    A passing represents a cable installed by Consolidated that passes close enough to a home or
                                                                                             Continued…
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       32.     The Proxy fails to disclose Q1 2023 results even though it discloses the results for

the fiscal year ended December 31, 2022, reported on February 28, 2023.

Consolidated Management Presents a Series of Standalone Projections to
the Special Committee

       33.     On May 15, 2023, representatives of Consolidated management provided the

Special Committee with an initial draft of a plan consisting of nonpublic projections for fiscal

years 2023 through 2031 (“May Standalone Plan”).

       34.     Like the May 2 Presentation, the May Standalone Plan projected that by 2026, 70%

of Consolidated’s passings would be fiber. This is evident from the presentation given by

Rothschild on June 6, 2023, which discussed the “May 70% Build Plan” reflecting 70% of passings

consisting of fiber by 2026. Indeed, in a subsequent presentation given by Rothschild on June 22,

2023, this plan is explicitly referred to as the “2026 70% Build Plan.”

       35.     On June 14, 2023, after extensive discussions with Consolidated management and

Rothschild, the Special Committee unanimously approved Rothschild’s use of the May Standalone

Plan to prepare a fairness opinion and financial analyses. The Proxy, however, does not disclose

the projections in the May Standalone Plan.

       36.     On June 19, 2023, following meetings between Rothschild and Consolidated

management on June 15, 2023 and June 19, 2023, Consolidated management shared an updated

version of the May Standalone Plan (“June Standalone Plan”) that purportedly made certain so-

called “technical” corrections to the May Standalone Plan that among other things, (1) reduced the

projected fiber build rate pace in the near term to maintain an appropriate minimum liquidity level,

and (2) increased the projected fiber build rate pace in later years when Consolidated’s liquidity


business that Consolidated may provision broadband service to that home or business from that
cable.
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position was projected to strengthen. On June 21, 2023, the Special Committee unanimously

approved Rothschild’s use of the June Standalone Plan to prepare a fairness opinion and financial

analyses. The Proxy discloses the projections in the June Standalone Plan.

       37.     In fact, the so-called “technical” corrections to the May Standalone Plan—

implemented within just a five day timespan—constituted a material change in Consolidated’s fiber

buildout plan that projected achieving Consolidated’s long-term objective of 70% fiber coverage

by 2029 instead of by 2026—an extension of three years. Given the material extension in the

timeline for achieving 70% fiber buildout reflected in the June Standalone Plan, the Proxy must

disclose the May Standalone Plan to Unaffiliated Stockholders prior to the Stockholder Vote so

that Unaffiliated Stockholders can, in deciding how to vote, consider the changes made to the May

Standalone Plan to create the June Standalone Plan.

       38.     Subsequently, on August 30, 2023, Consolidated management shared a revised

version of the June Standalone Plan (“August Standalone Plan”) with the Special Committee

reflecting the impact of certain asset sales and Consolidated’s ongoing cost-cutting initiatives.

       39.     On September 6, 2023, the Special Committee unanimously approved Rothschild’s

use of the August Standalone Plan to prepare a fairness opinion and financial analyses, and directed

Rothschild to share the August Standalone Plan with Searchlight. The Proxy discloses the

projections in the August Standalone Plan.

The Financing Proposal from Party A

       40.     On September 6, 2023, Rothschild advised the Special Committee of an unsolicited

communication received from an entity referred to in the Proxy as “Party A” regarding a potential

$200 million subordinated debt or preferred equity investment. Rothschild advised that Party A

intended to submit a written proposal regarding the key proposed terms.


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       41.     On September 26, 2023, Party A provided Rothschild with a written proposal

regarding the key proposed terms of a financing for Consolidated. The Proxy, however, fails to

disclose the amount of the financing actually offered by Party A and the other material terms upon

which such financing was offered. This omission is material since the Proxy asserts that

Consolidated had financing constraints that purportedly compelled Consolidated management to

extend the timeline for achieving the objective of 70% fiber passings from 2026 to 2029.

       42.     On September 27, 2023, and then again on October 4, 2023, the Special Committee

determined not to engage with Party A on the ground that Party A’s financing proposal was not in

the best interests of Consolidated’s stockholders in light of the terms proposed and the purported

risks associated with continuing to operate as a standalone company.

The Special Committee and Searchlight Agree to the Merger

       43.     On September 27, 2023, after extended due diligence and negotiations, Searchlight

advised that it and BCI were willing to move forward with a transaction at $4.70 per share in cash.

       44.     On October 14, 2023, Rothschild delivered its opinion (“Fairness Opinion”) to the

Special Committee that the Merger Consideration of $4.70 per share in cash was fair to

Unaffiliated Stockholders. Thereafter, the Special Committee recommended that the Board

approve the Merger.

       45.     Later that day, the Board met with Cravath, Rothschild, and Latham & Watkins

(“Latham”). The Board had engaged Latham as its legal advisor. The Proxy fails to disclose,

however, that (i) while advising the Board, Latham was concurrently advising Searchlight with

respect to various significant transactional matters, and (ii) Latham had, within the past two years,

advised Searchlight on numerous significant transactional matters (“Latham Conflicts”). Several

of these matters related to Searchlight’s investment in fiber network assets and the provision of


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communication services similar to those provided by Consolidated.2

       46.     The directors appointed to the Board by Searchlight—i.e., Defendants Frey and

Fuller (“Searchlight Directors”)—recused themselves from the meeting. The Proxy does not state,

however, that Defendant Solis recused herself even though, as noted, it is unclear whether or not

the failure to appoint Solis to the Special Committee formed on April 29, 2023, was due to a

potential conflict affecting Solis that rendered her interested and/or not independent of Searchligh.

       47.     At the meeting on October 14, 2023—after “detailed discussions” with Latham and

Rothschild—the Board approved the Merger as fair to and in the best interests of Unaffiliated

Stockholders. The Proxy touts that this approval was “unanimous.”

       48.     On October 16, 2023, Consolidated announced the Merger.

The Proxy Contains Material Omissions

       49.     As detailed below, the Proxy omits material facts necessary for Unaffiliated

Stockholders to cast fully informed votes with respect to the Merger. The federal securities laws,

and Delaware law, obligate the Defendants to disclose these omitted facts to Unaffiliated

Stockholders in advance of the Stockholder Vote so that Unaffiliated Stockholders can cast fully

informed votes with respect to the Merger.




2
  See (1) https://www.lw.com/en/news/2023/11/latham-watkins-advises-searchlight-capital-
partners-on-acquisition-of-integrated-power-services; (2)
https://www.lw.com/en/news/2023/10/latham-watkins-advises-searchlight-on-strategic-
investment-in-mainstream-fiber-networks; (3) https://www.lw.com/en/news/2023/05/latham-
watkins-advises-searchlight-capital-partners-on-strategic-investment-in-wecom; (4)
https://www.lw.com/en/news/2022/11/latham-advises-searchlight-capital-partners-on-its-
minority-stake-investment-in-synergy-marine-group; (5)
https://www.lw.com/en/news/2022/05/latham-watkins-advises-searchlight-capital-partners-lp-
on-take-private-of-hemisphere-media-group; (6) https://www.lw.com/en/news/2022/04/latham-
watkins-advises-searchlight-capital-partners-mediamath-recapitalization-transaction; (7)
https://www.lw.com/en/news/2021/09/latham-watkins-advises-searchlight-capital-partners-
strategic-investment-adams-outdoor-advertising.
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The Proxy Fails to Disclose Any Potential Conflicts of Defendant Solis

       50.     The Proxy discloses that the Special Committee formed on April 1, 2022—in

response to Searchlight’s initial expression of interest in acquiring Consolidated—consisted of

Defendants Currey, Gerke, Moore, Rahe, and Solis. The Proxy states that all such directors were

disinterested in any transaction with Searchlight and independent of Searchlight. Yet, when the

Board again formed the Special Committee on April 29, 2023—in response to Searchlight’s April

12 Proposal—Defendant Solis was not a member. The Proxy fails to disclose whether the Board

failed to appoint Defendant Solis to the Special Committee formed on April 29, 2023, because of

a potential conflict that rendered Solis interested in a transaction with Searchlight and/or not

independent of Searchlight.

       51.     The failure to disclose whether or not Solis had a potential conflict renders a

statement in the Proxy misleading, i.e., that the Board’s approval of the Merger at its October 14,

2023 meeting (“October 14 Board Meeting”) was “unanimous.” The Proxy indicates that the

Searchlight Directors recused themselves from the October 14 Board Meeting, but does not state

that Defendant Solis recused herself, which indicates that Solis attended that meeting. The Proxy

touts that Board approval at the October 14 Board Meeting was unanimous. But if Solis had a

potential conflict, she would have had an undisclosed motive to approve the Merger other than

solely on its merits and the reference to “unanimous” approval would be misleading. Disclosure

of any conflict affecting Solis would enable Unaffiliated Stockholders to contextualize the Board’s

“unanimous” approval of the Merger when deciding how to vote. See Allen v. Harvey, 2023 WL

7122641, at *5 (Del. Ch. Oct. 30, 2023); Enzo Biochem, Inc. v. Harbert Discovery Fund, LP, 2021

WL 4443258, at *9-10 (S.D.N.Y. Sept. 27, 2021).




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The Proxy Fails to Disclose the Projections in the May Standalone Plan

       52.     The Proxy states that the Special Committee approved Rothschild’s use of the May

Standalone Plan to prepare the Fairness Opinion. This indicates that the projections in the May

Standalone Plan were reliable. The Proxy further states that certain so-called “technical”

corrections were thereafter made to the May Standalone Plan to create the June Standalone Plan.

However, as noted above, characterizing these corrections as “technical” is misleading since they

extended the timeline to achieve the objective of 70% fiber passings from 2026 to 2029; as such,

the corrections to the May Standalone Plan were material changes. Therefore, just as the Proxy

discloses the projections in the June Standalone Plan and in the August Standalone Plan,

Defendants must also disclose the projections in the May Standalone Plan to Unaffiliated

Stockholders so that, when deciding how to vote, Unaffiliated Stockholders can evaluate the

changes made to the May Standalone Plan that resulted in the June Standalone Plan. See Azar v.

Blount Int’l, Inc., 2017 WL 1055966, at *6 (D. Or. Mar. 20, 2017).

The Proxy Fails to Disclose the Material Terms of the Party A Financing Proposal

       53.     The Proxy advises that Party A indicated that it would submit a proposal to provide

$200 million in financing to Consolidated. But when the Proxy references the proposal submitted

by Party A on September 26, 2023, it fails to disclose the amount of the financing actually offered

by Party A and the other material terms upon which such financing was offered. Disclosure of the

amount and other material terms of the financing offered by Party A would enable Unaffiliated

Stockholders—when deciding how to vote—to weigh the credibility of the Proxy’s assertion that

Consolidated had financing constraints, and contextualize the Special Committee’s decision not to

engage with Party A concerning an alternative transaction. See New Enter. Assocs. 14, L.P. v. Rich,

292 A.3d 112, 151 (Del. Ch. 2023).


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The Proxy Fails to Disclose the Latham Conflicts

       54.       The Proxy stresses the independence of the law firms advising on the Merger, but

fails to disclose the Latham Conflicts, which show that (i) Latham was simultaneously advising

Searchlight with respect to significant legal matters while advising the Board in connection with

its decision whether or not to approve the Merger, and (ii) in the two years prior to October 14,

2023, Latham had advised Searchlight on several significant legal matters. Since the Proxy (i) touts

that the Board’s approval of the Merger was “unanimous,” and (ii) indicates that such unanimous

approval occurred after “detailed discussions” with Latham, Defendants must disclose the Latham

Conflicts to Unaffiliated Stockholders so that Unaffiliated Stockholders can weigh the significance

of those conflicts when deciding how to vote with respect to the Merger. See Wilson v. Great Am.

Indus., Inc., 855 F.2d 987, 993-94 (2d Cir. 1988).

                                     CLAIMS FOR RELIEF

                                             COUNT I

                                       Against All Defendants
                for Violations of Section 14(a) of the Exchange Act and Rule 14a-9

       55.       Plaintiff incorporates and repeats each and every allegation above as if fully set

forth herein.

       56.       SEC Rule 14a-9, 17 C.F.R. §240.14a-9, promulgated pursuant to Section 14(a) of

the Exchange Act, provides:

       No solicitation subject to this regulation shall be made by means of any Proxy, form
       of proxy, notice of meeting or other communication, written or oral, containing any
       statement which, at the time and in light of the circumstances under which it is
       made, is false or misleading with respect to any material fact, or which omits to
       state any material fact necessary in order to make the statements therein not false
       or misleading or necessary to correct any statement in any earlier communication
       with respect to the solicitation of a proxy for the same meeting or subject matter
       which has become false or misleading.


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       57.      Defendants disseminated the false and misleading Proxy, which made false and

misleading statements, and failed to disclose material facts necessary in order to make statements

made therein, in light of the circumstances under which they were made, not misleading in

violation of Section 14(a) of the Exchange Act and Rule 14a-9 promulgated thereunder.

       58.      By virtue of their positions within Consolidated, and/or roles in the process of

preparing, reviewing, and/or disseminating the Proxy, the Individual Defendants were aware of

their duty not to make false and misleading statements in the Proxy, and not to omit material facts

from the Proxy necessary to make statements made therein—in light of the circumstances under

which they were made—not misleading.

       59.      Yet, as specified above, in violation of Section 14(a) of the Exchange Act and Rule

14a-9, Defendants (i) made untrue statements of material fact in the Proxy, and/or (ii) omitted

material facts from the Proxy necessary to make statements therein— in light of the circumstances

under which they were made—not misleading, in order to induce Unaffiliated Stockholders to vote

in favor of the Merger. Defendants were at least negligent in filing the Proxy with these material

misrepresentations and omissions.

       60.      The material misrepresentations and omissions in the Proxy specified above are

material insofar as there is a substantial likelihood that a reasonable Unaffiliated Stockholder

would view correction of the misrepresentations, and disclosure of the omitted facts specified

above as significantly altering the “total mix” of information made available to Unaffiliated

Stockholders.

       61.      The Proxy explains that Consolidated cannot complete the Merger unless it is

approved by a majority of the Unaffiliated Stockholders. The Proxy soliciting the votes of

Unaffiliated Stockholders is thus an essential link in the accomplishment of the Merger, and


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transaction causation is established.

       62.      Because of the material misrepresentations and omissions in the Proxy specified

above, Plaintiff and other Unaffiliated Stockholders are threatened with irreparable harm insofar

as Plaintiff and other Unaffiliated Stockholders will be deprived of their entitlement to cast fully

informed votes with respect to the Merger if such material misrepresentations and omissions are

not corrected before the Stockholder Vote. Therefore, injunctive relief is appropriate.

                                              COUNT II

                            Against the Individual Defendants for
                        Violations of Section 20(a) of the Exchange Act

       63.      Plaintiff incorporates and repeats each and every allegation above as if fully set

forth herein.

       64.      The Individual Defendants acted as controlling persons of Consolidated within the

meaning of Section 20(a) of the Exchange Act, as alleged herein. By virtue of their positions as

officers and/or directors of Consolidated, and participation in, and/or awareness of Consolidated’s

operations, and/or knowledge of the contents of the Proxy filed with the SEC, they had the power

to influence and control, and did influence and control, directly or indirectly, the decision-making

of Consolidated with respect to the Proxy, including the content and dissemination of the various

statements in the Proxy that Plaintiff contends are materially false and misleading, and the

omissions of material fact specified above.

       65.      Each of the Individual Defendants was provided with or had unlimited access to

copies of the Proxy and other statements alleged by Plaintiff to be misleading prior to and/or

shortly after these statements were issued and had the ability to prevent the issuance of the

statements or cause the statements to be corrected.

       66.      Each of the Individual Defendants had direct and supervisory involvement in the
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negotiation of the Merger, and, therefore, is presumed to have had the power to control or influence

the particular transactions giving rise to the securities violations alleged herein, and exercised

same.

        67.     In addition, as the Proxy sets forth at length, and as described herein, the Individual

Defendants were involved in negotiating, reviewing, and approving the Merger. The Proxy

purports to describe the various issues and information that the Individual Defendants reviewed

and considered in connection with such negotiation, review and approval.

        68.     By virtue of the foregoing, the Individual Defendants had the ability to exercise

control over and did control a person or persons who violated Section 14(a), by their acts and

omissions as alleged herein. By virtue of their positions as controlling persons, these Defendants

are liable pursuant to Section 20(a) of the Exchange Act. As a direct and proximate result of

Individual Defendants’ conduct, Plaintiff and other Unaffiliated Stockholders will be irreparably

harmed.

        69.     Plaintiff and other Unaffiliated Stockholders have no adequate remedy at law. Only

through the exercise of this Court’s equitable powers can Plaintiff and other Unaffiliated

Stockholders be fully protected from the immediate and irreparable injury that Defendants’ actions

threaten to inflict upon Plaintiff and other Unaffiliated Stockholders in terms of casting fully

informed votes with respect to the Merger.

                                            COUNT III

                            Against the Individual Defendants for
                        Breach of Fiduciary Duty Under Delaware Law

        70.     Plaintiff incorporates and repeats each and every allegation above as if fully set

forth herein.



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         71.    The Individual Defendants, as directors of a Delaware corporation, owed Plaintiff

and other Unaffiliated Stockholders fiduciary duties of due care, good faith, candor, and loyalty

under Delaware law.

         72.    The Individual Defendants breached their fiduciary duties under Delaware law by

omitting material facts from the Proxy that are necessary for Plaintiff and other Unaffiliated

Stockholders to know in order to cast fully informed votes with respect to the Merger, as detailed

above.

         73.    The facts omitted from the Proxy as detailed above are material because there is a

substantial likelihood that a reasonable Unaffiliated Stockholder would view disclosure of such

facts as significantly altering the ‘total mix’ of information made available to them.

         74.    As a result of the Individual Defendants’ breaches of fiduciary duty, Plaintiff and

other Unaffiliated Stockholders will be harmed by being deprived of their right to cast fully

informed votes with respect to the Merger.

         75.    Plaintiff and other Unaffiliated Stockholders have no adequate remedy at law, and

as a result of the Individual Defendants’ breaches of fiduciary duty, are threatened with irreparable

harm by virtue of being deprived of their entitlement to cast fully informed votes with respect to

the Merger, as more fully explained above.

                                    PRAYER FOR RELIEF

         WHEREFORE, Plaintiff prays for judgment and relief as follows:

         A.     Preliminarily and permanently enjoining Defendants and their counsel, employees

and all other agents and persons acting in concert with them from proceeding with and holding the

Stockholder Vote and consummating the Merger, unless and until Defendants disclose and




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disseminate to Unaffiliated Stockholders the material information specified above that has been

omitted from the Proxy, and correct any false and misleading statements in the Proxy;

       B.      Finding Defendants liable for violating Sections 14(a) of the Exchange Act and

Rule 14a-9 promulgated thereunder;

       C.      Finding the Individual Defendants liable for violating Section 20(a) of the

Exchange Act, and breaching their fiduciary duties under Delaware law;

       D.      Rescinding, to the extent already implemented, the Merger Agreement or any of

the transactions contemplated thereby, or granting Plaintiff rescissory damages;

       E.      Directing Defendants to account to Plaintiff for all damages suffered as a result of

their misconduct;

       F.      Awarding Plaintiff the costs and disbursements of this action, including reasonable

attorneys’ fees and expenses; and

       G.      Granting such other and further relief as this Court may deem just and proper.

                                        JURY DEMAND

       Plaintiff demands a trial by jury on all claims and issues so triable.

 Dated: November 29, 2023                          WOHL & FRUCHTER LLP


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